                Case 3:93-cr-03053-RV-MD                        Document 663        Filed 03/10/08         Page 1 of 1
OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                    for the
                                                         NorthernDistrict
                                                      __________ Districtof
                                                                          of__________
                                                                             Florida

                    United States of America                          )
                               v.                                     )
                      TERRY GILCHRIST                                 ) Case No: 3:93CR3053-07/RV
                                                                      ) USM No: 03179-017
Date of Previous Judgment:                     10/14/1993             )
(Use Date of Last Amended Judgment if Applicable)                     ) Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of ✔   ’ the defendant ’ the Director of the Bureau of Prisons ’ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       ’ DENIED. ✔  ’ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 262           months is reduced to 210 months                 .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    38                Amended Offense Level:                                          36
Criminal History Category: II                Criminal History Category:                                      II
Previous Guideline Range:  262 to 327 months Amended Guideline Range:                                        210      to 262 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
✔ The reduced sentence is within the amended guideline range.
’
’ The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
’ Other (explain):




III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated                10/14/1993   shall remain in effect.
IT IS SO ORDERED.

Order Date:                 03/10/2008                                                      /s/ Roger Vinson
                                                                                               Judge’s signature


Effective Date:                                                                     Senior United States District Judge
                     (if different from order date)                                          Printed name and title




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